Case 2:11-cr-20129-SFC-EAS ECF No. 943, PageID.4158 Filed 09/08/14 Page 1 of 6




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                Criminal No. 2:11-cr-20129
                    Plaintiff,
                                                Honorable Robert H. Cleland
vs.

D-3, DAVID THOMAS ROBERTS,

               Defendant.
________________________________/

                  PRELIMINARY ORDER OF FORFEITURE

      WHEREAS, a Third Superseding Indictment was filed on or about July 13,

2012, which charged Defendant David Thomas Roberts with violating 18 U.S.C.

§1962(d) (Count One: Racketeer Influenced Corrupt Organization-Conspiracy).

      WHEREAS, on May 13, 2014, Defendant David Thomas Roberts

(“Defendant”) entered into a Rule 11 Plea Agreement, wherein he pled guilty to

violating 18 U.S.C. §1962(d) as alleged in Count One of the Third Superseding

Indictment.

      WHEREAS, in his Rule 11 Plea Agreement and pursuant to 18 U.S.C. §

1963(a)(1)-(3), Defendant agreed to the forfeiture of (a) any and all interest

Defendant has acquired or maintained in violation of 18 U.S.C. ' 1962; (b) any and

all interest in, security of, claim against, or property or contractual right of any

kind affording a source of influence over any Enterprise named and described in
Case 2:11-cr-20129-SFC-EAS ECF No. 943, PageID.4159 Filed 09/08/14 Page 2 of 6




Count One of the Third Superseding Indictment which Defendant established,

operated, controlled, conducted or participated in the conduct of, in violation of 18

U.S.C. ' 1962; and (c) any and all property constituting, or derived from, any

proceeds obtained, directly or indirectly, from racketeering activity in violation of

18 U.S.C. ' 1962, including the following:

           One leather vest with Devil’s Diciples colors and Alabama, and one
            leather vest with various Devil’s Diciples patches and pins;

           One leather vest with Devil’s Diciples and Michigan, and one leather
            vest with various Devil’s Diciples patches and pins; and

           Framed Devil’s Diciples patches and business cards, and three picture
            frames with various Devil’s Diciples patches

(hereinafter referred to as the “Subject Property”).

      WHEREAS, in his Rule 11 Plea Agreement, Defendant agreed to the

Court’s entry of a Preliminary Order of Forfeiture incorporating the forfeiture of

the Subject Property and agreed that the forfeiture order would become final as to

Defendant at the time it is entered.

      NOW, THEREFORE, pursuant to 18 U.S.C. ' 1962 and Fed.R.Crim.P. 32.2,

and based upon Defendant’s guilty plea to Count One of the Third Superseding

Indictment, the contents of Defendant’s Rule 11 Plea Agreement, the

Government’s Application for Entry of Preliminary Order of Forfeiture, and other

information in the record,


                                          2
Case 2:11-cr-20129-SFC-EAS ECF No. 943, PageID.4160 Filed 09/08/14 Page 3 of 6




      IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT

   1. Defendant shall forfeit to the United States (a) any and all interest Defendant

      has acquired or maintained in violation of 18 U.S.C. ' 1962; (b) any and all

      interest in, security of, claim against, or property or contractual right of any

      kind affording a source of influence over any Enterprise named and

      described in Count One of the Third Superseding Indictment which

      Defendant established, operated, controlled, conducted or participated in the

      conduct of, in violation of 18 U.S.C. ' 1962; and (c) any and all property

      constituting, or derived from, any proceeds obtained, directly or indirectly,

      from racketeering activity in violation of 18 U.S.C. ' 1962, which includes

      the Subject Property.

   2. Pursuant to 18 U.S.C. § 1963(a)(1)-(3), the Subject Property IS HEREBY

      FORFEITED to the United States for disposition according to law, and any

      right, title or interest of Defendant, and any right, title or interest that his

      heirs, successors, or assigns, have or may have in the Subject Property IS

      HEREBY AND FOREVER EXTINGUISHED.

   3. The Court has determined, based upon the information and agreements

      contained in Defendant’s Rule 11 plea agreement, and other information in

      the record, that there is a sufficient nexus between the Subject Property and

      Defendant’s offense.


                                            3
Case 2:11-cr-20129-SFC-EAS ECF No. 943, PageID.4161 Filed 09/08/14 Page 4 of 6




   4. This Order shall become final as to Defendant at the time it is entered and

      the forfeiture shall be made part of Defendant’s sentence and included in

      Defendant’s Judgment.

   5. Upon entry of this Preliminary Order of Forfeiture, the United States

      Attorney General or his designee is authorized to commence any applicable

      proceeding to comply with the statutes governing third party rights,

      including giving notice of this Order.

   6. Pursuant to 18 U.S.C. § 1963(l), the United States shall publish notice of this

      Preliminary Order of Forfeiture and of its intent to dispose of the Subject

      Property in such manner as the Attorney General may direct on

      www.forfeiture.gov for at least thirty (30) consecutive days. Said notice

      shall direct that any person, other than the Defendant, asserting a legal

      interest in the Subject Property, may file a petition with the Court within

      thirty (30) days of the final publication of notice or of receipt of actual

      notice, whichever is earlier. The petition shall be for a hearing before the

      Court alone, without a jury and in accordance with 18 U.S.C. § 1963(l)(2),

      to adjudicate the validity of the petitioner’s alleged interest in the Subject

      Property. Pursuant to 18 U.S.C. § 1963(l)(3), any petition filed by a third

      party asserting an interest in the Subject Property must be signed by the

      petitioner under penalty of perjury and must set forth the nature and extent


                                           4
Case 2:11-cr-20129-SFC-EAS ECF No. 943, PageID.4162 Filed 09/08/14 Page 5 of 6




      of the petitioner’s alleged right, title or interest in the Subject Property, the

      time and circumstances of the petitioner’s acquisition of the right, title, or

      interest in the Subject Property, any additional facts supporting the

      petitioner’s claim, and the relief sought. Pursuant to 18 U.S.C. § 1963(l)(1),

      the United States may also, to the extent practicable, provide direct written

      notice to any person or entity known to have an alleged interest in the

      Subject Property.

   7. The United States is hereby authorized, pursuant to 18 U.S.C. § 1963(k) and

      Federal Rules of Criminal Procedure 32.2 (c), to conduct any discovery in

      the ancillary proceeding in accordance with the Federal Rules of Civil

      Procedure upon a showing that such discovery is proper and desirable.

   8. Pursuant to 18 U.S.C. § 1963(l)(7), following the Court’s disposition of any

      petitions for ancillary hearing, or, if none, following the expiration of the

      period provided in 18 U.S.C. § 1963(l)(2) for the filing of third party

      petitions, the United States shall have clear title to the Subject Property, all

      other interests in the Subject Property shall be FORFEITED to the United

      States, this Order shall become the Final Order of Forfeiture as provided by

      Federal Rule of Criminal Procedure 32.2(c)(2), and the United States shall

      be authorized to dispose of the Subject Property as prescribed by law.




                                           5
Case 2:11-cr-20129-SFC-EAS ECF No. 943, PageID.4163 Filed 09/08/14 Page 6 of 6




   9. The Court retains jurisdiction to enforce this Order, and to amend it as

      necessary, pursuant to Federal Rule of Criminal Procedure 32.2(e).

      IT IS SO ORDERED.



                                       s/Robert H. Cleland
Dated: September 8, 2014               HONORABLE ROBERT H. CLELAND
                                       United States District Judge




                                         6
